                              EXHIBIT
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                 ADMINISTRATIVE POLICIES
                     AND PROCEDURES                             Effective Date: March 15, 2018
                      State of Tennessee                        Distribution: LD
                   Department of Correction                     Supersedes: 503.03 (3/15/15)
Approved by: Tony Parker                                                        PCN 17-34 (3/31/17)

Subject:   PROGRAM LEVELS FOR INMATES UNDER SENTENCE OF DEATH



     I.     AUTHORITY: TCA 4-3-603 and TCA 4-3-606.

    II.     PURPOSE: To establish criteria and procedures for a review process and criteria for the assignment
            of program levels for inmates sentenced to death.

   III.     APPLICATION: To all Tennessee Department of Correction (TDOC) employees and to all inmates
            under the sentence of death.

   IV.      DEFINITIONS:

            A.       Behavioral Health Administrator (BHA): A licensed or qualified mental health professional
                     approved by the Warden/Superintendent and the Director of Behavioral Health Services to
                     assume the responsibility of coordinating the delivery of behavioral health services.

            B.       Program Level: An assigned assessment which provides for specified work and
                     programmatic activities of an inmate sentenced to death.


            C.       Qualified Mental Health Professional: For purposes of this policy, a licensed psychological
                     examiner or other individual who is professionally licensed/certified as a therapeutic
                     professional or a mental health professional having a master’s degree in the behavioral
                     sciences.

            D.       Unit Manager: For purposes of this policy only, an employee appointed by the Warden who
                     is responsible for the overall operation of all phases of the unit for inmates sentenced to death
                     which includes programming within the housing unit or zone.

            E.       Unit Review Panel: A group of staff appointed by the Warden who meet regularly to assess
                     an inmate’s current circumstances and make recommendations for any suitable changes in
                     the inmate’s status.

   V.       POLICY: The unit review panel shall assess all available information regarding an inmate sentenced
            to death to ensure that appropriate recommendations are made regarding the inmate’s program level
            status and periodically make recommendations for any appropriate changes in the inmate’s assigned
            program level. All inmates sentenced to death shall be assigned into a program level.

   VI.      PROCEDURES:

            A.       Inmates received by the TDOC who are sentenced to death shall be initially classified in
                     accordance with Policy #401.04 and assigned to Program Level C. All housing and
                     programming of permanently assigned inmates sentenced to death shall occur within the
                     following units:

                     1.      RMSI-Unit 2, Building 2A, and Unit 1 (available only for overflow as necessary)

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                    2.       TPFW-Unit 3

             B.     The Warden shall appoint the Unit Review Panel. The Panel shall meet every thirty days to
                    conduct a comprehensive diagnostic review/interview of each inmate’s level. The unit
                    Review panel shall consist of:

                    1.      Chairperson: Unit Manager (Alternate: Chief Counselor)

                    2.      Members (1): ranking officer/correctional officer.

                    3.      Member of the facilities Behavioral Health staff

                    4.      Member of the Treatment Team

             C.     Level C inmates shall not be scheduled to meet the Unit Review Panel until they have
                    fulfilled a complete eighteen months in Level C.

                    1.      If the inmate has experienced a significant absence from the program during the
                            initial 12 month period on Level C, the review shall be delayed for a corresponding
                            period.

                    2.      Unless the review is further delayed in accordance with (C)(1), if the inmate is
                            temporarily away from his/her permanent assigned facility when the 12 month
                            review is due, the review shall be completed within 30 days upon the inmate’s return.

             D.      Subsequent reviews shall be scheduled so that each inmate under the sentence of death is
                     reviewed by the unit review panel for his/her progress and adjustment, or for level
                     advancement consideration, if eligible. Inmates sentenced to death shall be reclassified at
                     least annually in accordance with Policy #401.04. Reviews occur in accordance with the
                     following schedule:

                     1.     Level C and B within six months or as necessary or due to administrative or
                            disciplinary reasons.

                     2.     Level A within 12 months or as necessary or due to administrative or disciplinary
                            reasons.

             E.      Inmates shall be provided the opportunity to be present during their hearings before the unit
                     review panel. Inmates who refuse to appear before the unit review panel are subject to
                     reduction of level assignment.

             F.      Conviction of any disciplinary infraction will automatically result in a review by the unit
                     review panel and possible reassignment to an appropriate program level.

             G.      On a weekly basis, the Unit Adjustment Form, CR-3343, shall be completed by a unit team
                     member. This form provides documentation of observed inmate behavior, staff perceptions
                     of the inmate’s adjustment to unit activities, and a description of the inmate’s interaction
                     with staff and other inmates.



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             H.      On a weekly basis, the Cell Inspection Form, CR-3115, shall be completed by a unit team
                     member. This form includes a checklist of observable items which shall be inspected for
                     cleanliness, damage, obstructions, neatness and contraband.


             I.      The unit review panel, when reviewing an inmate for program level assessment, shall review
                     all completed CR-3343 forms and CR-3115 forms completed during the time frame of the
                     review. In addition, the following items shall be considered by the panel when
                     recommending a level change:

                     1.      Inmate’s disciplinary record

                     2.      Past criminal record

                     3.      Past record of incarceration(s)

                     4.      Criminal activity in prison or jail

                     5.      Record of violent reactions to stressful situations

                     6.      Institutional record on work/education assignment

                     7.      Adjustment to unit activities

                     8.      Willingness and ability to live harmoniously among others

                     9.      Incompatibility with other inmates

                     10.     Attitude toward authority

                     11.     Personal hygiene

                     12.     Involvement in STG activities

                     13.     Psychological, psychiatric, and/or other behavioral health or medical evaluations
                             completed within the past six months as provided by the institutional medical staff.

                     14.     Other information or special consideration that may reflect on the appropriateness
                             of the level placement.

             J.      Program level assignments recommended by the unit review panel are subject to the
                     approval of the unit manager and Associate Warden of Security.

                     1. Actions shall be documented on the Unit Review Panel Hearing Sheet, CR-2937.

                     2.     The specific reasons for unit level review decisions must be stated and shall
                           include consideration of behavioral health concerns identified in the course of
                           evaluation pursuant to paragraph I.13 foregoing.


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                     3. Any level change from Level C requires the approval of the Warden. Inmates may
                        appeal final decisions using Classification Appeal, CR-3004.

             K.      Inmates shall be assigned to program levels as follows:

                     1.     Level C: All newly death sentenced inmates received at an institution shall be placed
                            in Level C. An inmate shall remain at this level for a total of 12 months prior to
                            receiving consideration for Level B. Available programming activities:

                             a.      Individual exercise – two hours per day

                             b.      Individual religious counseling

                             c.      All C level prisoners will receive a visit from the mental health team at least
                                     once every 30 days and will be given the opportunity to participate in a
                                     private out-of-cell meeting with mental health staff.

                             d.      Individual education

                             e.      Legal help from inmate legal assistants, on a non-contact visit basis, not to
                                     exceed a total of two hours each week as scheduled by the unit
                                     manager/designee.

                             f.      Non-contact visitation twice a week for no more than one hour per visit.
                                     After 12 months at Level C, a contact visit may be granted by the Associate
                                     Warden of Security based upon a favorable review of Section VI.
                                     (I)(5,6,7,8,10, and 11)

                             g.      Limited to one package every six months.

                             h.      Restraints shall be mandatory for all inmates classified to this level.

                             i.      May participate in in-cell arts and crafts on an individual basis, at the
                                     discretion of the Warden, according to demonstration of appropriate
                                     behavior.

                     2.     Level B: An inmate must remain at this level for 9 months, disciplinary-free, prior
                            to receiving consideration for Level A placement pending review in accordance with
                            Section VI.(F). Available programming activities:

                             a.      Participate in groups of six or less for the following:

                                     (1)     Education

                                     (2)     Exercise – a minimum of two hours per day

                                     (3)     Religious services/activities

                                     (4)     Individual group counseling

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                             (5)     Legal help from inmate legal assistants, on a non-contact visit basis,
                                     not to exceed a total of two hours each week as scheduled by the
                                     unit manager/designee.

                     b.      Contact or non-contact visits, at the discretion of the Associate Warden of
                             Security –twice a week for a total of three hours maximum

                     c.      Limited to one package every three months

                     d.      Restraints shall be mandatory for all inmates classified to this level.
                             Restraints may be removed while an inmate is in a conference area or
                             treatment area at the discretion of the unit manager. Wardens shall develop
                             policies and procedures setting forth restraint procedures when inmates are
                             out of their cells.

                3.   Level A: Inmates at this level must maintain an overall exceptional rating in the unit
                     and remain free from disciplinary convictions, pending review in accordance with
                     Section VI (D). Available programming activities:

                     b.      Participation in the following activities in groups (of other inmates under
                             sentence of death) at the discretion of the unit manager:

                             (1)      Exercise - a minimum of two hours per day

                             (2)      Education

                             (3)      Arts and crafts, if available

                             (4)      Religious services/activities

                             (5)      Individual or group counseling

                             (6)      Group dinners, if appropriate and approved by the unit manager

                             (7)      Cards and certain boards games, if appropriate and approved by the
                                      unit manager

                             (8)     Use of active/passive multipurpose rooms as designated by the unit
                                     manager

                             (9)     Law clerk or legal advisor from the population shall visit in the non-
                                     contact visiting area not to exceed one hour per day as scheduled by
                                     the unit manager, Monday through Friday. Access to library shall
                                     be established in local policies and procedures.

                             (10)     Movement in and out of their cells within the unit and exercise yards
                                      without restraints.

                     c.      Contact visits – twice a week for a total of three hours or more, depending
                             on space availability, as approved by the Associate Warden of Security.

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                             d.       Limited to one package every three months.

             L.      If an inmate on any level elects not to participate in recreation or group programming for a
                     period of thirty days or more, unit manager shall notify the Behavioral Health
                     Administrator.

                             a. The Behavioral Health Administrator shall upon receipt of such notice arrange
                                for a Qualified Mental Health Professional (QMHP) to conduct an assessment
                                of the inmate’s mental health condition.

                             b. Upon completion of the assessment, the QMHP shall recommend to the
                                Behavioral Health Administrator and unit manager any recommendation for an
                                immediate clinical intervention. The QMHP shall in all events document the
                                findings and recommendations from the assessment, on the problem-oriented,
                                CR-1884.


             M.      Regardless of the disciplinary sanction imposed on an offender by reason of conviction for
                     a disciplinary infraction, an offender on death row may be demoted one level or two levels.
                     When an offender receives a demotion they will not be eligible for a level increase for a
                     period of between 3 and 12 months depending on the severity of the infraction, as
                     determined by the following matrix:

                                 Offender level   Disc. Class          New Level        Consideration

                                 A                A                    C                12 months
                                 A                B                    B                 6 months
                                 A                C                    B                 3 months

                                 B                A                    C                12 months
                                 B                B                    C                 6 months
                                 B                C                    C                 3 months

                                 C                A                    C                12 months
                                 C                B                    C                 6 months
                                 C                C                    C                 3 months



             N.      Program assignments to Level A or B and the housing assignments of inmates under sentence
                     of death who is permanently assigned to a facility other than RMSI or TPW shall be
                     approved or disapproved by the Assistant Commissioner of Prisons/designee. The Assistant
                     Commissioner of Prisons/designee shall consider all relevant circumstances including, but
                     not limited to, the following:

                     1.      The safety of the inmate

                     2.      The safety of other inmates


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                     3.      The security of the institution

             N.      Any exceptions to this policy require the prior approval of the Commissioner.

             O.      The Warden of any facility permanently housing inmates under sentence of death shall
                     develop local policies and procedures to administer this policy. These policies require the

             P.      News Media - contact with news media shall be in accordance with Policy #103.04.

             Q.     Inmates in all levels shall be in full restraints when he/she leaves the building for medical,
                    court, etc. Inmates assigned to Deberry Special Needs Facility for medical/behavioral health
                    reasons will be treated as a level C inmate.


  VII.       ACA STANDARDS: None.

 VIII.       EXPIRATION DATE: March 15, 2021.




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